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   10
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   12
                            UNITED STATES DISTRICT COURT
   13
                          CENTRAL DISTRICT OF CALIFORNIA
   14

   15
         IN RE: NATIONAL FOOTBALL                   Case No. 2:15-ml-02668-PSG (SKx)
   16    LEAGUE’S “SUNDAY TICKET”
         ANTITRUST LITIGATION                       STATUS REPORT REGARDING
   17                                               NOTICE PLAN
   18
         THIS DOCUMENT RELATES TO:
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         ALL ACTIONS
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    1
               Plaintiffs respectfully submit this status report concerning the completion of
    2
        Court-ordered notice to the residential and commercial classes of DIRECTV
    3
        Sunday Ticket subscribers (the “Executed Notice Plan”). 1
    4
              As detailed in the attached Declaration of Gina Intrepido-Bowden on Notice
    5
        Plan Execution, the Executed Notice Plan reached more than 95% of class
    6
        members. Some highlights of the Executed Notice Plan include:
    7
                 • 7,686,550 email notices were sent to class members;
    8
                 • 1,466,854 postcards were sent to class members;
    9
                 • The supplemental media notice received over 26 million impressions;
   10
                 • The litigation website received over 100,000 page views and will
   11
                     continue to be maintained and updated throughout the notice
   12
                     administration process; and
   13
                  • JND received nearly 3,000 combined emails and phone calls at a
   14
                     dedicated email address and toll-free number to respond to class
   15
                     member inquiries.
   16
        Intrepido-Bowden Decl., ¶¶ 6-26.
   17
              As of November 3, 2023, JND and Class Counsel are aware of only thirty
   18
        requests for exclusion. See Intrepido-Bowden Decl., ¶ 27. Of these, ten are
   19
        considered invalid for failure to provide requisite information and/or a signature,
   20
        despite follow-up requests to repair those deficiencies. Id.
   21
              For the reasons mentioned here and in greater detail in the Intrepido-Bowden
   22
        Declaration, the Executed Notice Plan provided the best notice practicable under
   23
        the circumstances of the case.
   24

   25   DATED: November 8, 2023                By: /s/ Sathya S. Gosselin

   26                                                  Sathya S. Gosselin
   27   1
         See Order Appointing Notice Administrator, Authorizing Distribution of Notice to
   28   Residential and Commercial Classes of DIRECTV Sunday Ticket Subscribers, and
        Compelling Production of Customer Contact Information. Dkt No. 953.
                                                 -2-
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